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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JEFFREY L. CLEMENS,                                 )
                                                    )
              Plaintiff,                            )
                                                    )
              v.                                    )   Civil No. 19-369-E
                                                    )
DYLAN J. WEAVER, TODD W. KOEBLEY,                   )
and TRAVEL CENTERS OF AMERICA, LLC,                 )
                                                    )
              Defendants.                           )


                                            ORDER


       AND NOW, this 5th day of November, 2020, upon consideration of Defendant Travel

Centers of America, LLC’s Rule 12(b)(6) Motion to Dismiss, or in the Alternative, for Summary

Judgment (Docket No. 8) and memorandum in support thereof (Docket No. 9), Plaintiff Jeffrey

L. Clemens’s response in opposition thereto (Docket No. 15), and Defendant’s reply (Docket No.

16),

       IT IS HEREBY ORDERED, for the reasons set forth in the Court’s Memorandum

Opinion filed herewith, that Defendant’s motion to dismiss is GRANTED and his motion, in the

alternative, for summary judgment is DENIED AS MOOT. Accordingly, pursuant to Federal

Rule of Civil Procedure 12(b)(6), Plaintiff’s claim alleging negligence against Defendant Travel

Centers of America, LLC (Count III of the Complaint) is hereby DISMISSED WITHOUT

PREJUDICE to amendment with sufficient facts to state a claim.




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          FURTHERMORE, upon consideration of Plaintiff’s Motion to Strike Defendant Travel

Centers of America, LLC’s Rule 12(b)(6) Motion to Dismiss (Docket No. 17), Defendant’s

response thereto (Docket No. 20), and Plaintiff’s reply (Docket No. 21),

          IT IS HEREBY ORDERED, for the reasons set forth in the Court’s Memorandum

Opinion filed herewith, that Plaintiff’s motion is DENIED.




                                                     s/ W. Scott Hardy
                                                     W. Scott Hardy
                                                     United States District Judge


cc/ecf:         Counsel of Record

                Jeffrey L. Clemens (via U.S. Mail)




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